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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


KEVIN PETER WARD and JENNIFER
NAMCHI VU,

                       Plaintiffs,

v.                                                          Case No: 6:15-cv-336-Orl-41KRS

LOANDEPOT.COM, LLC,

                       Defendant.
                                           /

                                           ORDER

        THIS CAUSE is before the Court on Defendant’s Notice of Voluntary Dismissal without

Prejudice (Doc. 47) and the parties’ joint Stipulation for Dismissal with Prejudice (Doc. 48).

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), the Clerk of Court is directed to close

this case.

        DONE and ORDERED in Orlando, Florida on January 22, 2016.




Copies furnished to:

Counsel of Record




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